Entered: August 28th, 2018
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Signed: August 27th, 2018

SO ORDERED




                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                            Baltimore Division

          IN RE:                                                 Case No. 17-25844-NVA
          KEVIN L. MATTHEWS, SR
          PAMELA D. MATTHEWS                                     Chapter 13
                 Debtors
          SETERUS, INC. AS THE AUTHORIZED
          SUBSERVICER FOR FEDERAL NATIONAL
          MORTGAGE ASSOCIATION ("FANNIE MAE"),
          CREDITOR C/O SETERUS, INC.
               Movant
          v.
          KEVIN L. MATTHEWS, SR
          PAMELA D. MATTHEWS
               Debtors/Respondents
          and
          NANCY SPENCER GRIGSBY
               Trustee/Respondent

                AGREED ORDER MODIFYING STAY AS IT APPLIES TO REAL PROPERTY

                   THIS CAUSE came on for consideration of the motion of Seterus, Inc. as the authorized
         subservicer for Federal National Mortgage Association ("Fannie Mae"), creditor c/o Seterus, Inc.
         (“Movant”) for relief from stay (the “Motion”), and the response by Kevin L. Matthews, Sr. and
         Pamela D. Matthews (“Debtors”). The Court, noting the agreement between the Debtors and
         Movant as to the relief set forth herein, finds it appropriate to grant the relief requested. The
         Chapter 13 Trustee has not filed a response and consequently is not objecting to the relief


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requested.
       THEREFORE, it is ORDERED that:
       1.      The Motion is hereby GRANTED.
       2.      The Automatic Stay of 11 U.S.C. § 362(a) (the “Stay”) is hereby modified.
Movant shall forbear from exercising any right to foreclosure pursuant to the Deed of Trust
related to the real property located at 514 Annapolitan Drive, Annapolis, MD 21401 (the
“Property”) so long as the Debtors remain in compliance with the terms of this Order.
       3.      Beginning with the September 1, 2018, payment of $1,547.23, and continuing
each month thereafter, pursuant to the Deed of Trust, Note, Loan Modification (if any), or other
written agreements between the parties (the “Loan Documents”), the Debtors shall tender to
Movant the regular monthly mortgage payments, as and when they come due and as adjusted for
escrow/interest rate changes. A late fee may be assessed in the normal course and pursuant to the
Loan Documents. The current address for payments is:
                                          Seterus, Inc.
                                         PO Box 1047
                                       Hartford, CT 06143

       4.      The total postpetition arrearages due to the Movant as of August 15, 2018 is
calculated as follows:
       Three (3) missed payment(s) of $1,547.23                     =      $4,641.69
         (June 1, 2018 through August 1, 2018)
       Motion for Relief Attorney Fee                               =      $850.00
       Motion for Relief Filing Fee                                 =      $181.00
       Less Postpetition Suspense Balance                           =      ($108.31)
       Total Postpetition Default                                   =      $5,564.38

       5.      The Debtors will cure the postpetition arrears by making a payment to Movant in
the amount of $927.43 (said figure representing one-sixth of Debtors’ postpetition arrears) on or
before September 15, 2018, and $927.39 continuing on the 15th day of each month thereafter,
through and including February 15, 2019.
       6.      Based upon the lack of equity in the Property, as asserted in the Motion, the
parties agree that if the Debtors convert this case to a filing under another Chapter of Title 11 of
the U.S. Code, the Stay is TERMINATED and Movant may immediately exercise all in rem


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rights provided by the Loan Documents and applicable state law, including but not limited to
commencing or continuing a foreclosure action, obtaining or transferring title to the Property,
and allowing a foreclosure purchaser or transferee to obtain possession of said Property.
          7.    If the holder of any other Deed of Trust or lien on the Property obtains relief from
the Automatic Stay, then the Movant’s obligation to forbear from commencing or continuing a
foreclosure proceeding shall immediately terminate without any further proceeding in this Court
and the Stay is TERMINATED as to Movant.
          8.    In the event that payment required by this Order is not received by Movant when
it is due, or some other action required hereunder is not timely completed, Movant shall file a
Notice of Non-compliance (the “Notice”) and send a copy to the Debtors via first-class mail. The
Notice will describe the nature of the default.
          9.    Upon the filing of the Notice, the Debtors must take one of the following actions
within ten (10) days: i) cure the default or ii) file an objection with the Court stating no default
exists.
          10.   If the Debtors do not take one of the actions within the prescribed time, set forth
in the preceding paragraph, the Stay is TERMINATED. Thereafter, Movant may proceed with its
in rem remedies permitted by the Loan Documents and applicable state law, including but not
limited to commencing or continuing a foreclosure action, obtaining or transferring title to the
Property, and allowing a foreclosure purchaser or transferee to obtain possession of said
Property.
          11.   The Movant may file a Certificate of Default stating that it has complied with the
terms of this Order and may submit, together with the Certificate of Default, a draft order
terminating the Stay.
          12.   If the Debtors default pursuant to the terms of this Order on a second occasion,
Movant may file a Certificate of Default advising that the Stay has TERMINATED. The Debtors
shall not be entitled to cure the default pursuant to the terms of this Order. Thereafter, Movant
may proceed with its in rem remedies permitted by the Loan Documents and applicable state law,
including but not limited to commencing or continuing a foreclosure action, obtaining or
transferring title to the Property, and allowing a foreclosure purchaser or transferee to obtain
possession of said Property.

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       13.      Any cure of the Notice must include all amounts set forth therein, including
attorneys' fees resulting from the Debtors’ default, as well as any payments which have
subsequently become due under the terms of this Order and that are due at the time Debtors
tenders funds to cure the default. Acceptance of partial payment by the Movant during the cure
period shall not constitute a satisfaction or waiver of the Notice.
       14.      At Movant's discretion, and in order to avoid liquidation of said Property, Movant
may offer and provide the Debtors with information regarding a potential Loan Modification,
Refinance Agreement, or other Loan Workout/Loss Mitigation options, and may enter into such
agreement with the Debtors (subject to further approval by this Court). Movant may also
continue to protect its lien pursuant to the Loan Documents, to the extent allowed by law.
       15.      This Order applies to any successor-in-interest of Movant and shall not be subject
to the stay of order referenced in Federal Rule of Bankruptcy Procedure 4001(a)(3).



__________________________                               _________________________
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Counsel for the Movant

                               CERTIFICATION OF CONSENT

       I HEREBY CERTIFY that the terms of the copy of the agreed order submitted to the
Court are identical to those set forth in the original agreed order; and the signatures represented
by the /s/_________ on this copy reference the signatures of consenting parties on the original
agreed order.

                                                     ____________________________
                                                      ___________________________
                                                      Daniel Callaghan, Esq.




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cc:

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                                    END OF ORDER




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